     Case 2:04-cr-01189-CAS Document 211 Filed 06/22/20 Page 1 of 3 Page ID #:864




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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                 ) Case No. 2:04-cr-01189-CAS
                                               )
12                     Plaintiff,              )
13               v.                            )
                                               ) ORDER
14
     GABRIEL GONZALEZ,                         )
15                                             )
16                     Defendant.              )
                                               )
17                                             )
18         The Court is in receipt of defendant’s miscellaneous motions. Dkts. 207, 208, 209,
19   and 210. Having considered defendant’s requests, the Court orders as follows:
20         1.    Defendant requests a 30-day extension to file a reply brief in support of his
21               pending motion for compassionate release or, in the alternative, home
22               confinement. Dkt. 208. The Court GRANTS defendant’s request. Defendant
23               SHALL file his reply brief no later than July 23, 2020.
24         2.    Defendant requests that the government serve him with a declaration that the
25               government references in—but does not attach to—the government’s
26               opposition to defendant’s motion. Dkt. 209. Specifically, the government’s
27               opposition refers to the declaration of Associate Warden Dr. Tanisha Hall,
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     Case 2:04-cr-01189-CAS Document 211 Filed 06/22/20 Page 2 of 3 Page ID #:865




1                 which the government filed in a different case.         The Court GRANTS
2                 defendant’s request. On or before July 2, 2020, the government SHALL
3                 produce the Hall declaration to the Court, and the government SHALL serve
4                 the declaration on defendant.
5          3.     Defendant avers that, in light of the COVID-19 pandemic, the Bureau of
6                 Prisons (“BOP”) notified defendant that inmates at FCI Forrest City would
7                 “no longer be allowed to use the prison typewriter or otherwise access the
8                 legal materials available because we pose a health risk to others by potentially
9                 spreading the coronavirus.” Dkt. 207. Accordingly, defendant seeks an order
10                requiring “the prison at FCI Forrest City, Arkansas to give [defendant] access
11                to basic legal materials[.]” Id. However, “[t]he Court does not interfere with
12                day-to-day prison operations[.]” Lynn v. Lundry, No. 20-3116-EFM, 2020
13                WL 3270547, at *3 (D. Kan. June 17, 2020). Accordingly, the Court DENIES
14                defendant’s request for injunctive relief.1
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16   1
            The Court reminds defendant that the Court may grant compassionate release when
17   three requirements are met: “First, . . . the statute requires defendants to exhaust
     administrative remedies. Second, [the Court] may grant compassionate release only if
18   ‘extraordinary and compelling reasons warrant such a reduction’ and ‘that such reduction
19   is consistent with applicable policy statements issued by the Sentencing Commission.’
     Third, [the Court] must also consider ‘the factors set forth in Section 3553(a) to the extent
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     they are applicable.’” United States v. Rodriguez, 424 F. Supp. 3d 674, 680 (N.D. Cal.
21   2019). Courts have determined that “extraordinary and compelling” reasons for
22   compassionate release exist “when the prisoner suffers from preexisting health conditions
     that might make a COVID-19 infection more lethal.” United States v. O’Neil, No. 3:11-
23   cr-00017, 2020 WL 2892236, at *6 (S.D. Iowa June 2, 2020). “However, . . . ‘extraordinary
24   and compelling’ circumstances are [not] established by the mere elevated risk of
     contracting a pandemic virus in prison, even if such a higher risk exists.” United States v.
25   Van Cleave, No. 03-cr-247-RSL, 2020 WL 2800769, at *6 (W.D. Wash. May 29, 2020).
26   In addition, prior to granting compassionate release, and “[e]ven where extraordinary and
27   compelling reasons exist,” the Court “must consider whether the defendant is ‘a danger to
     the safety of any other person or to the community[.]’” United States v. Mondaca, No. 89-
28   cr-00655-DMS, 2020 WL 1029024, at *3 (S.D. Cal. Mar. 3, 2020).

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     Case 2:04-cr-01189-CAS Document 211 Filed 06/22/20 Page 3 of 3 Page ID #:866




1         4.    Defendant also requests an order requiring the BOP or the Centers for Disease
2               Control and Prevention “to disclose to him the purpose(s), focus, method(s),
3               scope and result of any and all research studies completed by the CDC at FCI
4               Forrest City . . . into the Covid-19 pandemic at the prison.” Dkt. 210. At this
5               juncture, defendant has not articulated a compelling basis for this overly broad
6               discovery request. Accordingly, the Court DENIES defendant’s “disclosure”
7               request without prejudice. See Calderon v. U.S. Dist. Court for the N. Dist.
8               of California, 98 F.3d 1102, 1106 (9th Cir. 1996) (“courts should not allow
9               prisoners to use federal discovery for fishing expeditions to investigate mere
10              speculation.”).
11        IT IS SO ORDERED.
12
13   DATED: June 22, 2020
14
                                                         CHRISTINA A. SNYDER
15                                                   UNITED STATES DISTRICT JUDGE
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